                        Case 1:21-cr-00175-TJK Document 857-10 Filed 08/17/23 Page 1 of 1
                                                      From: 573782641 Rufio Panman (owner)

                                                      Jan 6th meet
                                                      Pictures and video of activity
                                                      Setting up regional training every 3 months
                                                      Regional bulk orders of gear
                                                      Communications
                                                      Rally’s
                                                      Uniform
                                                      SHTF protocol
                                                                                                                                               1/27/2021 3:06:45 PM(UTC-8)


                                                    Source Info:
                                                    e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/237A30D0-FE61-47D7-84D1-
                                                    511A2D9881FB/telegram-data/account-8138281883108468013/postbox/db/db_sqlite : 0x32DAF40F (Size: 873086976 bytes)



  Unknown
  Status: Unsent

                                                 1/27/2021 3:09:20 PM(UTC-8)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x2F23A3FA (Size: 873086976 bytes)



  Unknown

  9____
  Status: Unsent

                                                 1/27/2021 3:09:53 PM(UTC-8)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x32DAF168 (Size: 873086976 bytes)



  From: 600189182 Anthony (POYB)

  During this time we should be doing less government and more drinking club, put that on
  the list
                                                                                          1/27/2021 3:10:32 PM(UTC-8)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/237A30D0-FE61-47D7-
84D1-511A2D9881FB/telegram-data/account-8138281883108468013/postbox/db/db_sqlite : 0x29EF0038 (Size: 873086976 bytes)



  Unknown

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  Status: Unsent

                                                                  1/27/2021 3:11:50 PM(UTC-8)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/2
37A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x2EA9DC63 (Size: 873086976 bytes)



  From: 625495084 Daniel Garris (poyb)

  Our chapter is actually a transjewish lgbt non profit now.
                                                                   1/27/2021 3:13:09 PM(UTC-8)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/2
37A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-8138281883108468013/postbox/db/db_sqlite
: 0x32DAFE66 (Size: 873086976 bytes)




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